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                               UNITED STATES D ISTR ICT CO URT
                               SOUTHERN DISTRICT OFFLORIDA

     SECU RITIES AND EXCH ANG E CO M M ISSION               )
                                                            )
                                 Plaintiff,                 )


     TRADE-LCC,                                                    CaseNo.9:10-cv-80737
     PHILIP F .M ILTON,and
     W ILLIAM H .CENTER,

                                 Defendants,
          j                                                 )
     Bp L w c,                                              )
     '
     rw W -LLc,and                                          )
     cM JCXPITAL LLC,                                       )
                                                            )
                                 RvIiefoefep-
                                            tj-gpts.        )
       ORDER GRANTING HUNTO N & W ILLIAM S LLP'S FINAL APPLICATION FOR
        A LLOW ANCE UF COM PENSATION AND klr
                                           fIM BURSEM ENT OF EXPENSES
          ASS/ECIAL COUNSEL FOR THE RECEIVER.R F/REY C.jCHN/IDER
                                                 .

           THIS CAUSE isbeforethe Courtupon Hpnton & MrillianisLLP (the t'Law Finu''),
    FinalApplication forAllowance ofCompeùsqlion and ReimbursementofExpensesas Spccial

    Cotmselforthe Receiver,Jrffrey C.Sqhneider(the ç'FinalApplication'')forwork performed
    duringtheperiodofDeçember1,2010throughNovembcr30,2011(DE 14* ).
           The instantmotion seeksauthorization topaythe1aw firm $7,369.00in fccsand $254.22
    in expcnses,foratotalaward of$7,623.28,fol.tht lcgalservicesitprovided during thtrelevant
    tim e period. According to the FinalApplication,the Securities and Exchange Com m ission and

    the Commodity Futures Trading Comnaission either do notobjcctor take no position with
    respectto the FinalA pplication.

           Afterreviewillg the billing records and the instantm otion,it ishereby O RDERED and
    AD.
      TU DGED tltat:
Case 9:10-cv-80737-DTKH Document 177 Entered on FLSD Docket 09/05/2012 Page 2 of 2




                  The Law Firm 'sFinalApplication is GRA NTED .

                  The Receiver is authorized to conqpensate the Law Firl
                                                                       n in the am ount of

     $7,623.28(seventhousandsixhundredtwentythreedollarsandtwentyeightcents). rw '
           DONE and SIGNED inChambersatWestPalm Beach Flotida,this S
                                                                  .                   dayor
                #2012.


                                                                  .   #'

                                                        D nielT.IQ.Hurcy
                                                        U nited StatesDistrictJudge


     Copie.îprovidedtocounselofrecord
